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  8                               UNITED STATES DISTRICT COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
 10                               WESTERN DIVISION – Los Angeles
 11
 12 YUGA LABS, INC.,                             Case No.: 2:22-cv-04355-JFW-JEM
 13                     Plaintiff,               [PROPOSED] FINAL JUDGMENT
 14          v.
 15 RYDER RIPPS, JEREMY CAHEN,
 16                     Defendants.
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      [PROPOSED] FINAL JUDGMENT                                Case No. 2:22-cv-04355-JFW-JEM
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  1           The first cause of action (15 U.S.C. § 1125(a)) and the third cause of action
  2 (15 U.S.C. § 1125(d)) in Plaintiff Yuga Labs, Inc.’s (“Yuga Labs”) Complaint
  3 (Dkt. 1) were tried by Court trial before U.S. District Judge John F. Walter
  4 presiding.
  5           As the Court held in its Findings of Fact and Conclusions of Law (Dkt. 431),
  6 Defendants Ryder Ripps and Jeremy Cahen (collectively, “Defendants”) are liable
  7 for false designation of origin under Yuga Labs’ first cause of action (15 U.S.C.
  8 § 1125(a)) through their intentional use of Yuga Labs’ valid and protectable BAYC
  9 Marks (including “BORED APE YACHT CLUB,” “BAYC,” “BORED APE,” the
 10 BAYC Logo, the BAYC BORED APE YACHT CLUB Logo, and the Ape Skull
 11 Logo) and the ensuing likelihood of confusion. Id. at 4-6. Defendants are also
 12 liable for cybersquatting under Yuga Labs’ third cause of action (15 U.S.C.
 13 § 1125(d)) through their registration and use of the domain names rrbayc.com and
 14 apemarket.com with a bad faith intent to profit. Id. at 6-8. Defendants have
 15 asserted no valid affirmative defense. Id at 8-11. Yuga Labs is therefore entitled to
 16 disgorgement of Defendants’ profits, statutory damages, and injunctive relief. The
 17 Court further held that this is an exceptional case under the Lanham Act, entitling
 18 Yuga Labs to its reasonable attorneys’ fees. Id. at 23-26. Hon. Margaret M.
 19 Morrow (Ret.) was appointed as Special Master and issued a Report and
 20 Recommendation regarding reasonable attorneys’ fees and costs to be awarded.
 21 Dkt. 445. The parties stipulated to those findings, which the Court agreed were
 22 reasonable, and the Court adopted them as its Order. Dkts. 447, 448.
 23           Accordingly, the Court hereby enters judgment in favor of Yuga Labs and
 24 against Defendants as follows:
 25           IT IS ORDERED that Plaintiff Yuga Labs, Inc. is awarded judgment against
 26 Defendants Ryder Ripps and Jeremy Cahen of $8,895,346.50, for which
 27 Defendants shall be jointly and severally liable, comprised of:
 28

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  1           1.     Disgorgement on its first cause of action (15 U.S.C. § 1125(a)) in the
  2                  amount of $1,375,362.92;
  3           2.     Statutory damages on its third cause of action (15 U.S.C. § 1125(d)) in
  4                  the amount of $200,000;
  5           3.     Attorneys’ fees in the amount of $6,983,432.62;
  6           4.     Costs in the amount of $317,295.04;
  7           5.     Expert witness fees in the amount of $19,255.92;
  8           IT IS FURTHER ORDERED that Defendants Ryder Ripps and Jeremy
  9 Cahen shall pay $120,000.00 to Yuga Labs in attorneys’ fees pursuant to the terms
 10 of the Court’s previous Order (Dkt. 227) in connection with Yuga Labs’ anti-
 11 SLAPP motion (Dkt. 156), for which Defendants shall be jointly and severally
 12 liable.
 13           IT IS FURTHER ORDERED that Defendants Ryder Ripps and Jeremy
 14 Cahen shall pay all fees to the Special Master, for which Defendants shall be jointly
 15 and severally liable, in the amount of $69,275. Defendants shall immediately
 16 reimburse Yuga Labs for the $27,875 Yuga Labs has already paid the Special
 17 Master as the Special Master’s retainer.
 18           IT IS FURTHER ORDERED that Plaintiff Yuga Labs, Inc. is awarded
 19 post-judgment interest on the above judgment, at the rate of [4.77]%, as provided
 20 by 28 U.S.C. § 1961.
 21           IT IS FURTHER ORDERED that Defendants Ryder Ripps and Jeremy
 22 Cahen are ENJOINED as follows:
 23           1.     Defendants, their agents, employees, and attorneys, and anyone in
 24                  active concert or participation with Defendants, their agents,
 25                  employees, and attorneys, are hereby permanently restrained and
 26                  enjoined from, directly or indirectly, or authorizing or assisting any
 27                  third-party to engage in:
 28

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  1                  a.      Manufacturing, minting, issuing, producing, distributing,
  2                          circulating, selling, marketing, offering for sale, advertising,
  3                          promoting, loaning, renting, or otherwise disposing of the
  4                          RR/BAYC NFTs (except as provided in this Judgment) and any
  5                          other products or merchandise related to the RR/BAYC NFTs,
  6                          including without limitation, listing the RR/BAYC NFTs or
  7                          related products or merchandise for sale on any marketplace,
  8                          and/or collecting royalties in connection with the RR/BAYC
  9                          NFTs;
 10                  b.      Using in any manner any logo, trade name, trademark, or
 11                          designation confusingly similar to any of the BAYC Marks or
 12                          any other Yuga Labs source identifier, alone or in combination
 13                          with other words or designs, as a trademark, trade name
 14                          component, or otherwise, to market, advertise, promote, or
 15                          identify any good and/or service not produced, offered, or
 16                          authorized by Yuga Labs, or to falsely represent or have the
 17                          effect of falsely representing that the goods or services of any
 18                          Defendant or of others are sponsored by, authorized by, or in
 19                          any way associated with Yuga Labs, or to otherwise unfairly
 20                          compete with Yuga Labs in manufacturing, selling, offering for
 21                          sale, distributing, or advertising goods or services;
 22                  c.      Registering, owning, using, or trafficking any other website,
 23                          domain name, e-commerce page or account, digital marketplace
 24                          page or account, licensing business or other business, or any
 25                          entity or store whose name or d.b.a. confusingly uses and/or
 26                          incorporates any of the BAYC Marks, or includes “BAYC”,
 27                          “Bored Ape”, or “Yuga” or any other Yuga Labs source
 28                          identifier, or that is confusingly similar to any of the BAYC

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  1                          Marks, or that is calculated to or reasonably likely to confuse
  2                          consumers into believing that Defendant is Yuga Labs, or is in
  3                          any manner associated or connected with Yuga Labs when it is
  4                          not;
  5                  d.      Registering, owning, using, or trafficking any social media
  6                          account, including but not limited to www.discord.com or
  7                          www.twitter.com account(s), that purports to originate from
  8                          Yuga Labs, or to be sponsored or licensed by, or affiliated with
  9                          Yuga Labs or uses and/or incorporates any portion of the BAYC
 10                          Marks within its name, when it is not;
 11                  e.      Using the infringing “RR/BAYC” and “APE MARKET” marks
 12                          on social media platforms to facilitate the manufacture,
 13                          circulation, sale, transfer, marketing, advertising, promoting,
 14                          and/or renting of RR/BAYC NFTs or related goods or services;
 15                  f.      Providing any benefits to holders of the RR/BAYC NFTs, such
 16                          as airdrops, or otherwise creating incentives for third parties to
 17                          sell, purchase, trade, transfer, loan, rent, and/or profit from
 18                          RR/BAYC NFTs; or
 19                  g.      Further infringing any BAYC Mark and/or any other Yuga Labs
 20                          source identifier.
 21           2.     Within fourteen (14) days after entry of this Order, Defendants shall:
 22                  a.      Transfer to Yuga Labs, including by facilitating the transfer of
 23                          rights with any necessary third-party host website, registrar, or
 24                          other entity, rrbayc.com, apemarket.com, the @ApeMarketplace
 25                          Twitter account, and the RR/BAYC smart contract
 26                          (0x2EE6AF0dFf3A1CE3F7E3414C52c48fd50d73691e);
 27                          together with all codes, passwords, credentials, or other
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  1                          information necessary for Yuga Labs to fully and solely access
  2                          and operate the same;
  3                  b.      If Defendants own any RR/BAYC NFT, they shall destroy (e.g.,
  4                          “burn”) that NFT or provide it to Yuga Labs to burn;
  5                  c.      Except as provided in subsections (a) and (b) of this section,
  6                          destroy any other infringing materials, including NFTs, articles,
  7                          documents, software, promotional items, or advertisements in
  8                          their possession or control using any BAYC Mark or any other
  9                          mark confusingly similar with the BAYC Marks;
 10                  d.      To give practical effect to this Order, any third-party host
 11                          website, registrar, or other entity related to any of the domains,
 12                          social media account, or digital accounts subject to this Order
 13                          shall, within fourteen (14) days of receipt of this Order, transfer
 14                          or otherwise assign those subject domains, social media
 15                          accounts, or digital accounts to Yuga Labs if Defendants have
 16                          not already done so;
 17                  e.      Contact by e-mail, text, or other written form of communication
 18                          all persons to whom Defendants gave, sold, issued, or
 19                          distributed a RR/BAYC NFT, and provide each of those persons
 20                          with solely a copy of this Order; and
 21                  f.      Airdrop to all RR/BAYC NFT holders a copy of this Order.
 22           3.     Upon entry of this Order, Defendants shall be deemed to have actual
 23                  notice of the issuance and terms of the permanent injunction, and any
 24                  act in violation of any of the terms of the permanent injunction may be
 25                  considered and prosecuted as contempt of Court, and such other,
 26                  further relief this Court deems just and proper.
 27           4.     Within thirty (30) days after entry of this Order, Defendants shall file
 28                  with the Court and serve upon Yuga Labs’ counsel a declaration under

      [PROPOSED] FINAL JUDGMENT                      5                  Case No. 2:22-cv-04355-JFW-JEM
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  1                  oath setting forth in detail the manner and form in which Defendants
  2                  have complied with this Order.
  3           5.     This Court shall retain jurisdiction over this action for the purpose of
  4                  implementing and enforcing this injunction.
  5           IT IS FURTHER ORDERED THAT Plaintiff Yuga Labs, Inc.’s fourth,
  6 fifth, sixth, seventh, ninth, tenth, and eleventh causes of action are DISMISSED
  7 WITHOUT PREJUDICE.
  8           This constitutes the final judgment of the Court.
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 10           IT IS SO ORDERED.
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 12 Date:
 13                                                    Honorable John F. Walter
                                                       U.S. District Judge
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      [PROPOSED] FINAL JUDGMENT                    6                 Case No. 2:22-cv-04355-JFW-JEM
